                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                     )         REEVES/STEGER
                                             )
       v.                                    )         CASE NO. 1:15-CR-60
                                             )
RICKY BAKER                                  )




                                           ORDER

       On September 15, 2015, Magistrate Judge Christopher H. Steger filed a Report and

Recommendation recommending (a) the Court accept Defendant=s plea of guilty to Count One of

the Indictment; (b) the Court adjudicate Defendant guilty of the charges set forth in Count One of

the Indictment; and (c) Defendant shall remain in custody pending sentencing in this matter (Doc.

22). Neither party filed an objection within the given fourteen days. After reviewing the record,

the Court agrees with the magistrate judge=s report and recommendation. Accordingly, the Court

ACCEPTS and ADOPTS the magistrate judge=s report and recommendation pursuant to 28

U.S.C. ' 636(b)(1) and ORDERS as follows:

       (1) Defendant=s plea of guilty to Count One of the Indictment is ACCEPTED;

       (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

Indictment; and

       (3) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

February 29, 2016, at 11:00 am.

       IT SO ORDERED.

ENTER:
                                                    ____________________________________
                                                    _______
                                                         _ ______
                                                               _ _______________
                                                                              ______________
                                                    UNITED
                                                    UNIT
                                                    UN I ED STATES
                                                             STA
                                                              T TE ES DISTRICT
                                                                      DISTR
                                                                         T ICCT JUDGE



Case 1:15-cr-00060-TRM-CHS          Document 43        Filed 11/19/15     Page 1 of 1     PageID
                                          #: 72
